                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          No. 3:12-00112
                                                )          JUDGE CAMPBELL
CARLOS CAEZ ROSA                                )


                                            ORDER

         Pending before the Court are the Government’s Motion To Withdraw Document (Docket

No. 59), and the Government’s Motion For Leave To File Motion Under Seal (Docket No. 56).

The Motions are GRANTED.

         Also pending before the Court is the Motion Of The United States To Affirm

Administrative Forfeiture And To dismiss Forfeiture Allegation In Indictment (Docket No. 58).

The Motion is GRANTED.

         It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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